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1700 G Street NW, Washington, D.C. 20552


                                             March 27, 2023

Via CM/ECF

Patricia S. Dodszuweit, Clerk of Court
United States Court of Appeals for the Third Circuit
21400 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

   Re: CFPB v. National Collegiate Master Student Loan Trust, No. 22-1864 –
       Rule 28(j) Citation of Supplemental Authority

Dear Ms. Dodszuweit:

      The Bureau writes concerning new authority relevant to the Defendant-
Trusts’ claim that this public enforcement action should be dismissed because of
an inoperative statutory removal provision. See Opening Br. at 40-67

       The Second Circuit rejected that argument in CFPB v. Law Offices of
Crystal Moroney, P.C., 2023 WL 2604254 (Mar. 23, 2023) (attached). It held that
under Collins v. Yellen, 141 S. Ct. 1761 (2021), parties seeking “to void an agency
action due to an unconstitutional removal protection … must show that the agency
action would not have been taken but for the President’s inability to remove the
agency head.” 2023 WL 2604254, at *3. It found that the respondent could not
make that showing where the Bureau had pursued the case under “three different
CFPB Directors appointed by two different presidents, each of whom has been
subject to at-will removal.” Id. The court did not find it necessary to address
ratification. See id. at *2.

      In so ruling, the Second Circuit joined the Fifth, Sixth, Ninth, and Tenth
Circuits in rejecting similar arguments, see Bureau Br. at 48, 51, and it expressly
agreed with Judge Bibas’s analysis in this case, see 2023 WL 2604254, at *3.



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       The Second Circuit’s decision is also contrary to the Trusts’ recent
suggestion that this Court might delay resolution of the Trusts’ appeal until the
Supreme Court decides a different issue—not raised here—in CFPB v. CFSA,
No. 22-448 (cert. granted Feb. 27, 2023). See ECF No. 94 (Trusts’ letter about
CFSA); see also ECF No. 95 (Bureau’s response). The Second Circuit did not wait
to see whether or how the Supreme Court might apply Collins in addressing the
funding challenge in CFSA before it could apply Collins’s express remedial
holding in rejecting the respondent’s removal-provision challenge. It did not even
wait before rejecting the funding challenge raised in CFSA and affirming that the
Bureau’s funding “is proper under the Appropriations Clause,” see 2023 WL
2604254, at *4-6.


                                      Respectfully submitted,

                                      /s/ Kevin E. Friedl
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cc: Counsel of Record




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                                                                documents, which it subsequently petitioned to enforce in
                    2023 WL 2604254                             the district court. While that petition was pending, the
      Only the Westlaw citation is currently available.         Supreme Court issued its opinion in Seila Law LLC v.
      United States Court of Appeals, Second Circuit.           CFPB, ––– U.S. ––––, 140 S. Ct. 2183, 207 L.Ed.2d 494
                                                                (2020), holding that the provision that protected the Director
        CONSUMER FINANCIAL PROTECTION                           of the CFPB from removal other than for cause was an
            BUREAU, Petitioner-Appellee,                        unconstitutional limitation on the President's removal power.
                       v.                                       Concerned about the validity of its enforcement action
                                                                following Seila Law, the CFPB filed a notice to ratify the
            LAW OFFICES OF CRYSTAL
                                                                CID and the enforcement action against Moroney. The district
        MORONEY, P.C., Respondent-Appellant. *                  court (Karas, J.) ultimately granted the CFPB's petition to
                                                                enforce the CID.
 *        The Clerk of Court is respectfully directed to
          amend the official case caption as set forth above.   On appeal, Moroney argues that the CID cannot be enforced
                                                                because (1) the CID was void ab initio under Seila Law, as
                          No. 20-3471                           the CFPB Director was shielded from presidential oversight
                                                                by an unconstitutional removal provision at the time the CID
                       August Term 2021                         was issued; (2) the funding structure of the CFPB violates
                                                                the Appropriations Clause of Article I of the Constitution;
                   Argued: January 18, 2022                     (3) Congress violated the nondelegation doctrine when it
                                                                created the CFPB's funding structure; and (4) the CID is an
                    Decided: March 23, 2023                     unduly burdensome administrative subpoena. We hold that
                                                                the CID was not void ab initio because the CFPB Director
Appeal from the United States District Court for the Southern   was validly appointed, that the CFPB's funding structure is
District of New York, No. 20-cv-3240, Kenneth M. Karas,         not constitutionally infirm under either the Appropriations
Judge.                                                          Clause or the nondelegation doctrine, and that the CID served
                                                                on Moroney is not an unduly burdensome administrative
Attorneys and Law Firms
                                                                subpoena. Accordingly, we AFFIRM the order of the district
Richard A. Samp (Michael P. DeGrandis, Jared McClain, on        court enforcing the CID.
the brief), New Civil Liberties Alliance, Washington, DC, for
Respondent-Appellant.
                                                                                    I. BACKGROUND
Kevin E. Friedl, Senior Counsel (Stephen Van Meter, Acting
General Counsel; John R. Coleman, Deputy General Counsel;       In 2010, in response to the 2008 financial crisis, Congress
Steven Y. Bressler, Assistant General Counsel, on the brief),   enacted the Dodd-Frank Wall Street Reform and Consumer
Consumer Financial Protection Bureau, Washington, DC, for       Protection Act. See Pub. L. No. 111-203, 124 Stat. 1376
Petitioner-Appellee.                                            (2010). Title X of that statute, the Consumer Financial
                                                                Protection Act (“CFPA”), created the CFPB to consolidate the
Before: Kearse, Walker, and Sullivan, Circuit Judges.
                                                                regulation of consumer financial products and services in a
Opinion                                                         single agency. See CFPA, 124 Stat. at 1955–2113; S. Rep. No.
                                                                111-176, at 10–11 (2010). Among other responsibilities, the
Richard J. Sullivan, Circuit Judge:                             CFPB is charged with enforcing federal laws involving debt-
                                                                collection practices.
 *1 Respondent-Appellant the Law Offices of Crystal
Moroney (“Moroney”) is a law firm that principally provides
                                                                The CFPB is funded through its enabling statute rather than
legal advice and services to clients seeking to collect debt.
                                                                Congress's annual appropriations. Congress authorized the
As the agency charged with regulating this industry, the
                                                                CFPB to draw funds from the combined earnings of the
Consumer Financial Protection Bureau (“CFPB”) served
                                                                Federal Reserve System – of which the CFPB is formally a
on Moroney a civil investigative demand (“CID”) for
                                                                part – up to a specified cap. See 12 U.S.C. § 5497(a). Since



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2013, that cap has been set at twelve percent of the Federal      moved to enforce the 2019 CID in district court. While the
Reserve System's 2009 operating expenses, adjusted annually       petition was pending, the Supreme Court issued its opinion
to account for increases in labor costs. Id. § 5497(a)(2)(A)–     in Seila Law. Apparently concerned about the validity of its
(B). Congress also authorized the CFPB to seek additional         enforcement actions in the wake of Seila Law, the CFPB
funding through the annual appropriations process. See id. §      filed a Notice of Ratification purporting to ratify the 2019
5497(e).                                                          CID and the enforcement action. In August 2020, the district
                                                                  court granted the CFPB's petition to enforce the 2019 CID.
 *2 The CFPB is headed by a single director who is appointed      Moroney filed a timely notice of appeal.
by the President, with the advice and consent of the Senate,
for a five-year term. See id. § 5491. Originally, the President   On appeal, Moroney argues that the CID cannot be enforced
could only remove the CFPB Director for “inefficiency,            because (1) the CID was void ab initio under Seila Law, as
neglect of duty, or malfeasance in office.” 12 U.S.C. § 5491(c)   the CFPB Director was shielded from presidential oversight
(3). But in Seila Law LLC v. CFPB, ––– U.S. ––––, 140 S.          by an unconstitutional removal protection at the time the CID
Ct. 2183, 207 L.Ed.2d 494 (2020), the Supreme Court held          was issued; (2) the funding structure of the CFPB violates
that this removal restriction impeded the President's Article     the Appropriations Clause of Article I of the Constitution;
II executive authority and therefore violated the separation      (3) Congress violated the nondelegation doctrine when it
of powers. See id. at 2197. Because the Supreme Court             created the CFPB's funding structure; and (4) the CID is
determined that the removal provision was severable from the      an unduly burdensome administrative subpoena. We address
rest of the CFPA, the Supreme Court held that the CFPB could      each argument in turn.
continue to operate with a Director who is removable by the
President at will. See id. at 2211.
                                                                                       II. DISCUSSION
Like many law-enforcement agencies, the CFPB is authorized
to issue administrative subpoenas known as civil investigative    A. The CID Was Not Void Ab Initio.
demands, or CIDs, in aid of its investigations. See 12            Moroney argues that the CID was void ab initio because,
U.S.C. § 5562(c). The CFPB's regulations permit individuals       when the CID was issued, the CFPB Director was shielded
and entities that receive CIDs to negotiate appropriate           by an unconstitutional removal provision. This argument is
modifications to CIDs through a meet-and-confer process           foreclosed by the Supreme Court's decision in Collins v.
with CFPB staff. See 12 C.F.R. § 1080.6(c). The CFPB's rules      Yellen, ––– U.S. ––––, 141 S. Ct. 1761, 210 L.Ed.2d 432
further set out a procedure, similar to that used in ordinary     (2021).
civil discovery, by which CID recipients can assert claims
of attorney-client privilege by providing the CFPB with a         Collins, like Seila Law, concerned an independent agency
schedule of the withheld documents. See 12 C.F.R. § 1080.8.       that was headed by a single director who was protected
The CFPB may file a petition in district court to enforce         from at-will presidential removal. See id. at 1771. In Collins,
compliance with a CID. 12 U.S.C. § 5562(e); 12 C.F.R. §           the Supreme Court held that under “[a] straightforward
1080.10.                                                          application of [its] reasoning in Seila Law,” the removal
                                                                  restriction violated the separation-of-powers doctrine. Id.
In June 2017, the CFPB issued a CID to Moroney. In                at 1784. The Supreme Court then excluded certain relief
compliance with the 2017 CID, Moroney produced thousands          as inappropriate for an invalid removal restriction. It held
of pages of documents and other data but withheld a subset of     that the relevant inquiry for determining whether an officer
documents, claiming that producing those documents would          “lacked constitutional authority and that [her] actions were
compromise its ethical obligations to its clients. In November    therefore void ab initio” is whether the officer “in question
2019, after the meet-and-confer process proved futile, the        [was] properly appointed,” not whether she was properly
CFPB sought to enforce the 2017 CID in district court. Just       removable. Id. at 1787. Because “there was no constitutional
four days before the scheduled hearing, however, the CFPB         defect in the statutorily prescribed method of appointment to
withdrew the CID, and the district court denied the petition      that office,” the Supreme Court held that “there is no reason
to enforce as moot. Shortly thereafter, the CFPB issued a         to regard any of the actions taken by [the properly-appointed
second CID, demanding substantially similar documents and         officer] as void.” Id.; see also Calcutt v. FDIC, 37 F.4th 293,
information as the 2017 CID. In April 2020, the CFPB              311–17 (6th Cir. 2022), mandate stayed pending petition for



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writ of certiorari, ––– U.S. ––––, ––––, ––– S.Ct. ––––, 213          than if no constitutional violation had occurred.” Id. (Kagan,
L.Ed.2d 1157 (2022); CFPB v. CashCall, Inc., 35 F.4th 734,            J., concurring) (quoting Mt. Healthy City Sch. Dist. Bd. of
742 (9th Cir. 2022). Nevertheless, the Supreme Court left             Educ. v. Doyle, 429 U.S. 274, 285, 97 S.Ct. 568, 50 L.Ed.2d
open the possibility that a party could be entitled to relief if it   471 (1977)).
could show that “an unconstitutional provision ... inflict[ed]
compensable harm” on the petitioner. Collins, 141 S. Ct. at           We find Justice Kagan's logic to be persuasive. Requiring
1789.                                                                 but-for causation in these cases properly matches the
                                                                      constitutional injury to the requested remedy. See id. at 1789
 *3 In the wake of Seila Law and Collins, courts have                 (Thomas, J., concurring) (“[T]o the extent a [g]overnment
disagreed as to how one could make such a showing.                    action violates the Constitution, the remedy should fit the
One view is that Collins requires a party to “show that               injury.”). Such a requirement is also consistent with long-
the agency action would not have been taken but for the               established remedial principles articulated by the Supreme
President's inability to remove the agency head.” CFPB v.             Court and our own precedents, see Mt. Healthy, 429 U.S.
Nat'l Collegiate Master Student Loan Tr., 575 F. Supp. 3d             at 285–87, 97 S.Ct. 568; Swann v. Charlotte-Mecklenburg
505, 508 (D. Del. 2021) (emphasis added); see also Calcutt,           Bd. of Educ., 402 U.S. 1, 16, 91 S.Ct. 1267, 28 L.Ed.2d
37 F.4th at 316 (“To invalidate an agency action due to a             554 (1971) (“[T]he nature of the [constitutional] violation
removal violation, that constitutional infirmity must cause           determines the scope of the remedy.”); United States v. City
harm to the challenging party” (emphasis added) (internal             of Yonkers, 197 F.3d 41, 55 (2d Cir. 1999) (“[T]he nature of
quotation marks omitted)); CashCall, 35 F.4th at 742 (“[T]he          the ... remedy is to be determined by the nature and scope of
party challenging an agency's past actions must ... show how          the constitutional violation.” (quoting Milliken, 433 U.S. at
the unconstitutional removal provision actually harmed the            280, 97 S.Ct. 2749)). We therefore hold that to void an agency
party.” (internal quotation marks omitted)). A less demanding         action due to an unconstitutional removal protection, a party
view is that Collins merely requires a party to show that             must show that the agency action would not have been taken
“the President's inability to fire an agency head affected            but for the President's inability to remove the agency head.
the complained-of decision.” CFPB v. RD Legal Funding,
LLC, 592 F. Supp. 3d 258, 266 (S.D.N.Y. 2022) (emphasis               In this case, there is no dispute that the CFPB Director
added) (internal quotation marks omitted). According to this          who issued the CID was properly appointed. And Moroney
view, Collins requires only some nexus between the existence          does not even argue that the Director would not have issued
of the unlawful removal provision and the complained-                 the CID but for the unconstitutional removal provision. Nor
of enforcement action. Unfortunately, the Collins majority            could it. The investigation into Moroney has spanned the
opinion did not pronounce a definitive holding on this point.         tenures of five CFPB Directors appointed by three different
See Collins, 141 S. Ct. at 1788–89. But Justice Kagan, writing        Presidents, and all but the first were at some point subject to
for herself, Justice Breyer, and Justice Sotomayor, did provide       at-will removal. Since the CID was issued, there have been
some helpful guidance.                                                three different CFPB Directors appointed by two different
                                                                      presidents, each of whom has been subject to at-will removal
Specifically, Justice Kagan “join[ed] in full the majority's          at some point in their tenure. There is nothing to suggest that
discussion of the proper remedy” in Collins and, in so doing,         the Director's removal protection affected the issuance of the
suggested that a party seeking to void an agency action               CID or the investigation into Moroney.
must first show but-for causation linking an unconstitutional
removal protection to the complained-of agency action. Id.             *4 Moroney contends that Collins is distinguishable because
at 1801 (Kagan, J., concurring). According to Justice Kagan,          it concerned retrospective relief (disgorgement of funds),
an agency action should be undone only when voiding the               whereas this case involves prospective relief (production of
agency's action is “needed to restore the [complaining party]         withheld documents). We decline to read Collins so narrowly.
to the position [it] ‘would have occupied in the absence’ of          The petitioners’ only “live claim” before the Supreme Court
the removal problem.” Id. (Kagan, J., concurring) (quoting            in Collins was for retrospective relief, and so that is all
Milliken v. Bradley, 433 U.S. 267, 280, 97 S.Ct. 2749, 53             the Supreme Court addressed. Collins, 141 S. Ct. at 1787.
L.Ed.2d 745 (1977)). Justice Kagan explained that “[g]ranting         But the Supreme Court's reasoning that an officer's actions
relief in any other case would, contrary to usual remedial            are valid so long as she was validly appointed applies
principles, put the [complaining party] ‘in a better position’        with equal force regardless of the relief sought by the



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party challenging the officer's actions. See Calcutt, 37 F.4th     System's 2009 Operating Expenses with adjustments for
at 316 (“[W]hether an unconstitutional removal protection          increases in labor costs. Id. § 5497(a)(2)(A)–(B). To receive
inflicted harm remains the same whether the petitioner             funding in addition to the twelve-percent limit, the CFPB
seeks retrospective or prospective relief.” (internal quotation    must seek Congressional appropriations through the annual
marks omitted)). Moroney's distinction between this case and       appropriations process. Id. § 5497(e). Because the CFPB's
Collins therefore does not make a difference.                      funding structure was authorized by Congress and bound by
                                                                   specific statutory provisions, we find that the CFPB's funding
                                                                   structure does not offend the Appropriations Clause.
B. The CFPB's Funding Structure Is Proper Under the
Appropriations Clause.
Moroney next contends that the CID is not                          C. We Decline to Follow the Fifth Circuit's Decision in
enforceable because the CFPB's funding structure violates          Community Financial Services Association of America,
the Appropriations Clause of the Constitution. The                 Ltd. v. CFPB.
Appropriations Clause provides that “[n]o Money shall              Our colleagues on the Fifth Circuit recently held that the
be drawn from the Treasury, but in Consequence of                  CFPB's “funding apparatus cannot be reconciled with the
Appropriations made by Law.” U.S. Const. art. I, § 9, cl. 7.       Appropriations Clause and the [C]lause's underpinning, the
The Clause “was intended as a restriction upon the disbursing      constitutional separation of powers.” Cmty. Fin. Servs. Ass'n
authority of the Executive department” and “means simply           of Am., Ltd. v. CFPB (CFSA), 51 F.4th 616, 642 (5th Cir.
that no money can be paid out of the Treasury unless it has        2022), cert. granted sub nom. CFPB v. Com. Fin. Services
been appropriated by an act of Congress.” Cincinnati Soap          Ass'n., ––– U.S. ––––, ––– S.Ct. ––––, ––– L.Ed.2d ––––,
Co. v. United States, 301 U.S. 308, 321, 57 S.Ct. 764, 81 L.Ed.    2023 WL 2227658, No. 22-448 (Feb. 27, 2023). Specifically,
1122 (1937). “[I]n other words, the payment of money from          the Fifth Circuit concluded that Congress “cede[d] direct
the Treasury must be authorized by a statute.” Off. of Pers.       control over the [CFPB]’s budget by insulating it from annual
Mgmt. v. Richmond, 496 U.S. 414, 424, 110 S.Ct. 2465, 110          or other time limited appropriations” and “ceded indirect
L.Ed.2d 387 (1990). There can be no dispute that the CFPB's        control by providing that [the CFPB]’s self-determined
funding structure was authorized by the CFPA – a statute           funding be drawn from a source that is itself outside
passed by Congress and signed into law by the President. See       the appropriations process,” namely, the Federal Reserve
124 Stat. at 1955–2113.                                            System. Id. at 638–39. This structure, according to the Fifth
                                                                   Circuit, constitutes “a double insulation from Congress's
Nevertheless, Moroney argues that the CFPB's funding               purse strings,” id. at 639, which runs “afoul of the separation
structure violates the Appropriations Clause because the           of powers embodied in the Appropriations Clause,” id. at 640.
Executive Branch “decides how much funding is ‘reasonably          We respectfully disagree.
necessary’ to carry out the agency's mission, without any
meaningful guidance, limitation, or control by the Legislative      *5 As a threshold matter, we cannot find any support for
Branch.” Moroney Br. at 21. As a threshold matter, Moroney         the Fifth Circuit's conclusion in Supreme Court precedent.
cites no support for a “meaningful guidance” test under the        To the contrary, the Court has consistently interpreted the
Appropriations Clause. Cf. Cincinnati Soap, 301 U.S. at            Appropriations Clause to mean simply that “the payment of
321, 57 S.Ct. 764 (“The contention ... that any attempted          money from the Treasury must be authorized by a statute.”
appropriation is bad, because the particular uses to which the     Richmond, 496 U.S. at 424, 110 S.Ct. 2465 (emphasis added);
appropriated money are to be put have not been specified, is       see also Cincinnati Soap, 301 U.S. at 321, 57 S.Ct. 764
without merit.”). But, in any event, Moroney's statement is        (“[The Appropriations Clause] means simply that no money
simply an inaccurate description of how the CFPB is funded.        can be paid out of the Treasury unless it has been appropriated
                                                                   by an act of Congress.”); Knote v. United States, 95 U.S.
In enacting the CFPA, Congress provided that “[f]unds              149, 154, 24 L.Ed. 442 (1877); Republic Nat. Bank of
obtained by, transferred to, or credited to the [CFPB] ... shall   Miami v. United States, 506 U.S. 80, 94–95, 113 S.Ct. 554,
remain available until expended[ ] to pay the expenses of          121 L.Ed.2d 474 (1992); Maine Cmty. Health Options v.
the [CFPB] in carrying out its duties and responsibilities.”       United States, ––– U.S. ––––, 140 S. Ct. 1308, 1319–20, 206
12 U.S.C. § 5497(c)(1). Congress also limited the amount           L.Ed.2d 764 (2020). We are not aware of any Supreme Court
of funding the CFPB can draw from the Federal Reserve              decision holding (or even suggesting) that the Appropriations
System to – at most – twelve percent of the Federal Reserve        Clause requires more than this “straightforward and explicit


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command.” Richmond, 496 U.S. at 424, 110 S.Ct. 2465.               1851) (hereinafter “Hamilton”) (third emphasis added); see
Here, Congress expressly appropriated the CFPB's funding           also id. (“[N]o money can be expended, but for an object, to
by enacting the CFPA, see 124 Stat. at 1955–2113, and              an extent, and out of a fund, which the laws have prescribed”).
we are “not at liberty to depart from binding Supreme
Court precedent, ‘unless and until the [Supreme] Court             Here, Congress prescribed the “purpose” (or “object”),
reinterprets’ [such] precedent” itself. OneSimpleLoan v. U.S.      “limit,” and “fund” of its appropriation for the CFPB in
Sec'y of Educ., 496 F.3d 197, 208 (2d Cir. 2007) (quoting          the CFPA. Hamilton, at 532. As to the purpose, Congress
Agostini v. Felton, 521 U.S. 203, 238, 117 S.Ct. 1997, 138         specified five “objectives” for the CFPB, including that
L.Ed.2d 391 (1997)) (alterations omitted).                         “(1) consumers are provided with timely and understandable
                                                                   information ... about financial transactions; (2) consumers
We likewise find no support for the Fifth Circuit's reasoning      are protected from unfair, deceptive, or abusive acts ...
in the Constitution's text. The Appropriations Clause states       and from discrimination; (3) outdated, unnecessary, or
that “[n]o Money shall be drawn from the Treasury, but in          unduly burdensome regulations are regularly identified
Consequence of Appropriations made by Law.” U.S. Const.            and addressed ... ; (4) Federal consumer financial law is
art. I, § 9, cl. 7. Nothing in the Constitution, however,          enforced consistently ... ; and (5) markets for consumer
requires that agency appropriations be “time limited” or that      financial products and services operate transparently and
appropriated funds be drawn from a particular “source.”            efficiently.” 12 U.S.C. § 5511(b)(1)–(5). With respect to
CFSA, 51 F.4th at 639. Certainly, “if the Framers of the           the fund and limit of the appropriation, Congress directed
Constitution had thought it necessary to” impose these limits,     the Board of Governors to “transfer to the [CFPB] from
“they would have” done so. Clinton v. Jones, 520 U.S. 681,         the combined earnings of the Federal Reserve System [an]
706, 117 S.Ct. 1636, 137 L.Ed.2d 945 (1997). Indeed, in the        amount determined by the [CFPB's] Director to be reasonably
section preceding the Appropriations Clause, the Constitution      necessary to carry out [its] authorities,” 12 U.S.C. § 5497(a)
expressly provides that “no Appropriation of Money” to raise       (1) (emphasis added), but which amount “shall not exceed
and support an army “shall be for a longer Term than two           [twelve percent] of the total operating expenses of the Federal
Years.” U.S. Const. art. I, § 8, cl. 12 (emphasis added).          Reserve System, as reported in the Annual Report, 2009,
By “negative implication,” the absence of any restrictions         of the Board of Governors,” id. § 5497(a)(2)(A) (emphasis
in the Appropriations Clause other than that Congress must         added). Although such funding does not fall under the
authorize government funding in a prior statute “precludes         annual appropriations process typical of most Congressional
the sort of implicit ... limit[s]” that the Fifth Circuit chose    spending, we cannot conclude that Congress “abdicate[d] [its
to impose in CFSA. Jennings v. Rodriguez, ––– U.S. ––––,           appropriation] obligation entirely” in establishing the CFPB's
138 S. Ct. 830, 844, 200 L.Ed.2d 122 (2018); see also 1            funding structure. CFSA, 51 F.4th at 642 (quoting CFPB v.
Joseph Story, Commentaries on the Constitution of the United       All Am. Check Cashing, Inc., 33 F.4th 218, 241 (5th Cir.
States § 625 (Edmund H. Bennett ed. 3d ed. 1858) (“It              2022) (Jones, J., concurring)). Consistent with the historical
would seem but fair reasoning upon the plainest principles of      practices of English, colonial, and state governments that
interpretation, that when the [C]onstitution established certain   formed the basis of the Founders’ understanding of the
qualifications, ... it meant to exclude all others.”).             appropriations process at the time of the Constitution's
                                                                   enactment, Congress specified “the purpose, the limit, and the
Nor do we find support for the Fifth Circuit's reasoning in        fund” of its appropriation for the CFPB in “a previous law,”
the history of the Appropriations Clause. “The concept of          Hamilton, at 532 (emphasis added).
appropriations as developed through the centuries in England
and as adopted by the colonies encompassed dual limitations         *6 For all these reasons, we respectfully decline to follow
on both amount and object.” Kate Stith, Congress’ Power of         the Fifth Circuit's decision in CFSA.
the Purse, 97 Yale L.J. 1343, 1353 (1988) (emphasis added)
(footnotes, internal quotation marks omitted). Consistent
with this concept, “[t]he design of the Constitution in [the       D. The CFPB's Funding Structure Is Proper Under the
Appropriations Clause] was ... to secure ... that the purpose,     Nondelegation Doctrine.
the limit, and the fund of every expenditure should be             Moroney next argues that, even if the CFPB's funding
ascertained by a previous law.” 7 Alexander Hamilton, The          structure is proper under the Appropriations Clause, Congress
Works of Alexander Hamilton 532 (John C. Hamilton ed.              violated the nondelegation doctrine in enacting the CFPA
                                                                   because it did not articulate an “intelligible principle”


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circumscribing the President's discretion in appropriating       Id. § 5511(a). The CFPA goes on to list five “objectives”
funds. Moroney Br. at 22. Article I of the Constitution          and six “primary functions” for the CFPB. Id. § 5511(b)–(c).
provides that “[a]ll legislative Powers herein granted shall     Under the nondelegation doctrine's lenient standard, Congress
be vested in a Congress of the United States.” U.S. Const.       has plainly provided an intelligible principle to guide the
art. I, § 1. “Accompanying that assignment of power to           CFPB in setting and spending its budget. See Mistretta, 488
Congress is a bar on its further delegation,” and Congress       U.S. at 372–73, 109 S.Ct. 647 (“[I]t [is] constitutionally
“may not transfer to another branch powers which are strictly    sufficient if Congress clearly delineates the general policy, the
and exclusively legislative.” Gundy v. United States, –––        public agency which is to apply it, and the boundaries of this
U.S. ––––, 139 S. Ct. 2116, 2123, 204 L.Ed.2d 522 (2019)         delegated authority.” (internal quotation marks omitted)). We
(internal quotation marks omitted). Nevertheless, Congress       therefore conclude that the CFPB's funding structure is proper
can “obtain[ ] the assistance of its coordinate Branches,”       under the nondelegation doctrine. 2
including by empowering executive agencies. Mistretta v.
United States, 488 U.S. 361, 372, 109 S.Ct. 647, 102 L.Ed.2d     2
                                                                         Adopting the Fifth Circuit's reasoning in CFSA
714 (1989). The difference between an improper delegation
                                                                         with respect to the Appropriations Clause would
of Congress's legislative powers and a proper delegation is
                                                                         also require us to circumvent the Supreme Court's
whether Congress has “la[id] down by legislative act an
                                                                         nondelegation doctrine cases. As discussed supra,
intelligible principle to which the person or body authorized
                                                                         the CFPA's specification of five “objectives,”
to [exercise the delegated authority] is directed to conform.”
                                                                         six “primary functions,” and the twelve-percent
J.W. Hampton, Jr., & Co. v. United States, 276 U.S. 394, 409,
                                                                         limit on the amount of funding it may draw
48 S.Ct. 348, 72 L.Ed. 624 (1928). 1
                                                                         from the Federal Reserve System, 12 U.S.C. §§
                                                                         5497(a)(2), 5511(b)–(c), “clearly delineates the
1      In its history, the Supreme Court has found                       general policy” and “boundaries of this delegated
       an improper delegation only twice – in A.L.A.                     [budgetary] authority.” Mistretta v. United States,
       Schechter Poultry Corp. v. United States, 295                     488 U.S. 361, 372–73, 109 S.Ct. 647, 102 L.Ed.2d
       U.S. 495, 55 S.Ct. 837, 79 L.Ed. 1570 (1935),                     714 (1989) (citation omitted). Under the Fifth
       and in Panama Refining Co. v. Ryan, 293 U.S.                      Circuit's view, however, Congress must not only
       388, 55 S.Ct. 241, 79 L.Ed. 446 (1935). Although                  “lay down ... an intelligible principle” in delegating
       a lively scholarly debate regarding the scope                     its budgetary authority, J.W. Hampton, 276 U.S.
       of the nondelegation doctrine has developed in                    at 409, 48 S.Ct. 348, but it must also assert
       recent years, compare Julian Davis Mortensen                      “direct control” over the CFPB's budget “on the
       & Nicholas Bagley, Delegation at the Founding,                    front end” and review of the CFPB's expenditures
       121 Colum. L. Rev. 277 (2021), with Ilan                          “on the back end,” CFSA, 51 F.4th at 638–39.
       Wurman, Nondelegation at the Founding, 130                        Clearly, these additional requirements are at odds
       Yale L.J. 1490 (2021), “since 1935, the Court has                 with the Supreme Court's guidance that Congress’
       uniformly rejected nondelegation arguments and                    articulation of an “intelligible principle” directing
       has upheld provisions that authorized agencies to                 the agency's exercise of legislative authority is all
       adopt important rules pursuant to extraordinarily                 that is required to satisfy separation of powers
       capacious standards,” Gundy, 139 S. Ct. at 2130–                  concerns under the Constitution, J.W. Hampton,
       31 (Alito, J., concurring).                                       276 U.S. at 409, 48 S.Ct. 348.
The CFPA states that the CFPB's budget is to be used to
“pay the expenses of the [CFPB] in carrying out its duties       E. The CID Was an Enforceable Administrative
and responsibilities.” 12 U.S.C. § 5497(c)(1). The CFPA          Subpoena.
further explains that the purpose of the CFPB is to “seek to      *7 Finally, Moroney argues that the CID is unenforceable
implement and, where applicable, enforce Federal consumer        because it is unduly burdensome. “The courts’ role in
financial law consistently for the purpose of ensuring that      a proceeding to enforce an administrative subpoena is
all consumers have access to markets for consumer financial      extremely limited.” In re McVane, 44 F.3d 1127, 1135 (2d Cir.
products and services and that markets for consumer financial    1995) (internal quotation marks omitted). “To win judicial
products and services are fair, transparent, and competitive.”   enforcement of an administrative subpoena, [an agency] must
                                                                 show [1] that the investigation will be conducted pursuant to a


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legitimate purpose, [2] that the inquiry may be relevant to the            blanket assertions will defeat the CID in toto. As this Court
purpose, [3] that the information sought is not already within             has long recognized, the proper way to address claims of
the [agency's] possession, and [4] that the administrative steps           privilege in response to a CID is for the objecting party to
required have been followed.” RNR Enters., Inc. v. SEC, 122                submit a privilege log. See United States v. Constr. Prods.
F.3d 93, 96 (2d Cir. 1997) (internal quotation marks omitted).             Rsch., Inc., 73 F.3d 464, 473 (2d Cir. 1996). And, of course,
It is the respondent's burden to show that an agency subpoena              the burden is on “the party invoking the privilege” to “provide
is unreasonable – a burden that “is not easily met.” SEC v.                sufficient detail to demonstrate fulfillment of all the legal
                                                                           requirements for application of the privilege,” absent which
Brigadoon Scotch Distrib. Co., 480 F.2d 1047, 1056 (2d Cir.
1973).                                                                     the “claim will be rejected.” Id. (internal quotation marks
                                                                           omitted). Because Moroney has not met its burden of showing
Moroney first argues that the CID was not issued for a                     that the documents sought by the CID are privileged, the
proper purpose because it seeks information implicating                    district court was correct to reject its privilege claims.
the practice of law. To be sure, Congress specifically
prohibited the CFPB from exercising enforcement authority                  Finally, Moroney argues that it has already responded to the
                                                                           CFPB's 2017 CID and that much of the material requested by
over attorneys engaged in the practice of law. See 12 U.S.C. §
                                                                           the 2019 CID is duplicative of what it has already produced.
5517(e)(1). The CFPB nonetheless has enforcement authority
                                                                           But here again, Moroney has failed to meet its burden. While
over attorneys engaged in “the offering or provision of a
                                                                           Moroney claims that the requests are duplicative, it never
consumer financial product or service ... that is not offered
                                                                           explains how the 2019 CID is duplicative of the 2017 CID
or provided as part of, or incidental to, the practice of law,
                                                                           or which documents have already been produced. Because
occurring exclusively within the scope of the attorney-client
                                                                           the burden is on Moroney to show that the 2019 CID is
relationship.” Id. § 5517(e)(2). Here, Moroney is engaged in
                                                                           unreasonable and Moroney has not met this burden, see
both debt collection and the practice of law, but the CID is
addressed only to its debt-collection practices and possible               Brigadoon Scotch, 480 F.2d at 1056, the district court was
violations of the Fair Debt Collection Practices Act, 15 U.S.C.            correct to enforce the CID.
§ 1692 et seq., and the Fair Credit Reporting Act, 15 U.S.C.
§ 1681 et seq. The CID was therefore issued pursuant to a
legitimate purpose under the statute. See 12 U.S.C. § 5517(e)                                  III. CONCLUSION
(2).
                                                                           For the foregoing reasons, we AFFIRM the order of the
Next, Moroney argues that the CID seeks information                        district court.
protected by attorney-client privilege and Moroney's duty of
confidentiality to its clients. But, as the district court correctly
                                                                           All Citations
noted, Moroney has not identified specific documents that
it claims are privileged. Instead, Moroney makes broad                     --- F.4th ----, 2023 WL 2604254
declarations of privilege in the apparent hope that those

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